     Case 2:24-cr-00725-ODW    Document 1   Filed 12/05/24   Page 1 of 5 Page ID #:1




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 8                            UNITED STATES DISTRICT COURT
 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                CR No. 2:24-cr-00725-ODW
11             Plaintiff,                     I N F O R M A T I O N
12                   v.                       [18 U.S.C. § 1343: Wire Fraud; 18
                                              U.S.C. § 981(a)(1)(C) and 28
13   JULIE ANNE DARRAH,                       U.S.C. § 2461(c): Criminal
                                              Forfeiture]
14             Defendant.
15

16        The United States Attorney charges:
17                                 [18 U.S.C. § 1343]
18   A.   INTRODUCTORY ALLEGATIONS
19        At times relevant to this Information:
20        1.    Defendant JULIE ANNE DARRAH was a resident of Santa Maria,
21   California.
22        2.    Defendant DARRAH ran an investment advisory business called
23   Vivid Financial Management Inc. (“VFM”), and through this business
24   she provided investment advisory services to individual clients.
25        3.    VFM was an SEC-registered investment advisor, and from 2015
26   to 2021, defendant DARRAH was the president, chief compliance
27   officer, and one-third shareholder of VFM.
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     Case 2:24-cr-00725-ODW   Document 1   Filed 12/05/24   Page 2 of 5 Page ID #:2




 1        4.      Defendant DARRAH was an investment adviser within the

 2   meaning of Section 202(a)(11) of the Advisers Act, 15 U.S.C. § 80b-

 3   2(a)(11).

 4        5.      Business Victim 1 was an investment advisory firm based in

 5   Minnesota.

 6   B.   THE SCHEME TO DEFRAUD

 7        6.      Beginning no later than in or about November 2016, and
 8   continuing through at least in or about July 2023, in Santa Barbara
 9   County, within the Central District of California, and elsewhere,
10   defendant DARRAH, together with others known and unknown to the
11   United States Attorney, knowingly and with intent to defraud,
12   devised, participated in, and executed a scheme to defraud investment
13   advisory clients (the “individual victims”) and Business Victim 1, as
14   to material matters, and to obtain money and property from such
15   victims by means of material false and fraudulent pretenses,
16   representations, and promises, and concealment of material facts.
17        7.      The scheme to defraud operated, in substance, as follows:
18                a.   Defendant DARRAH misappropriated and stole
19   approximately $2.25 million from individual victims, that is clients
20   of her investment advisory business.
21                b.   Defendant DARRAH gained control of individual victims’
22   assets in several different ways: (1) she was the trustee of their
23   trusts; (2) the individual victims executed standing letters of
24   authorization (“SLOA”) authorizing defendant DARRAH, as their
25   investment adviser, to transfer funds from their brokerage accounts
26   to other bank accounts; (3) defendant DARRAH was a signatory on
27   individual victims’ bank accounts; and (4) defendant DARRAH had power
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     Case 2:24-cr-00725-ODW   Document 1   Filed 12/05/24   Page 3 of 5 Page ID #:3




 1   of attorney over individual victims’ property, including their bank

 2   and brokerage accounts.

 3              c.   After gaining control of individual victims’ assets,

 4   defendant DARRAH, without the knowledge or consent of the individual

 5   victims, liquidated securities held in their accounts and then

 6   transferred cash from those accounts into her personal bank accounts,

 7   where she commingled stolen funds with personal funds and funds

 8   relating to her other ventures.

 9              d.   Defendant DARRAH then used those commingled funds to

10   buy and improve properties, pay her personal expenses, buy luxury

11   vehicles, and operate other business ventures.

12              e.   Defendant DARRAH convinced Business Victim 1 to

13   acquire VFM based on false and misleading statements and the

14   concealment of material facts, including false and misleading

15   statements and concealment of facts regarding her theft of individual

16   victims’ funds, which resulted in approximately $5.4 million in

17   losses to Business Victim 1 after the fraud was discovered.

18   C.   USE OF INTERSTATE WIRES

19        8.    On or about June 27, 2023, in San Luis Obispo County,
20   within the Central District of California, and elsewhere, defendant
21   DARRAH, for the purpose of executing the scheme to defraud described
22   above, transmitted and caused the transmission of an interstate wire
23   transfer of $90,000, from an account ending -xxx960 at T.D.
24   Ameritrade, held in the name of individual victim C.H., to an account
25   at Mechanics Bank ending –xxx647, held in the name of defendant
26   DARRAH and victim C.H.
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     Case 2:24-cr-00725-ODW   Document 1   Filed 12/05/24   Page 4 of 5 Page ID #:4




 1                              FORFEITURE ALLEGATION

 2             [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of defendant JULIE ANNE DARRAH’s

 8   conviction on the offense set forth in Count One of this Information.

 9        2.    Defendant DARRAH, if so convicted, shall forfeit to the

10   United States of America the following:

11              a.   All right, title, and interest in any and all

12   property, real or personal, constituting, or derived from, any

13   proceeds traceable to the offenses; and

14              b.   To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraph (a).

17        3.    Pursuant to Title 21, United States Code, Section 853(p),

18   as incorporated by Title 28, United States Code, Section 2461(c),

19   defendant DARRAH, if so convicted, shall forfeit substitute property,

20   up to the total value of the property described in the preceding

21   paragraph if, as the result of any act or omission of defendant

22   DARRAH, the property described in the preceding paragraph or any

23   portion thereof (a) cannot be located upon the exercise of due

24   diligence; (b) has been transferred, sold to, or deposited with a

25   third party; (c) has been placed beyond the jurisdiction of the

26   court; (d) has been substantially diminished in value; or (e) has

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     Case 2:24-cr-00725-ODW   Document 1   Filed 12/05/24   Page 5 of 5 Page ID #:5




 1   been commingled with other property that cannot be divided without

 2   difficulty.

 3
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 4                                     United States Attorney
 5

 6                                     MACK E. JENKINS
                                       Assistant United States Attorney
 7                                     Chief, Criminal Division
 8                                     KRISTEN A. WILLIAMS
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 9                                     Chief, Major Frauds Section
10                                     SCOTT PAETTY
                                       Assistant United States Attorney
11                                     Deputy Chief, Major Frauds Section
12                                     KERRY L. QUINN
                                       Assistant United States Attorney
13                                     Major Frauds Section
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